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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                TEXARKANA DIVISION


 LISA TORREY, et al.;                             §
                                                  §
                                                  §   CIVIL ACTION NO. 5:17-CV-00190-RWS
                 Plaintiffs,
                                                  §
                                                  §
 v.                                               §
                                                  §
 INFECTIOUS DISEASES SOCIETY OF
                                                  §
 AMERICA, et al.,                                 §
                                                  §
                 Defendants.                      §
      .
                                            ORDER

          Before the Court is Plaintiffs and Defendant Blue Cross and Blue Shield Association’s

Joint Motion to Extend Stay of All Deadlines (Docket No. 366). Having considered the motion,

the Court is of the opinion that good cause exists to extend the stay of all deadlines as to these

parties for 30 days. The motion is thus GRANTED AS MODIFIED. Accordingly, it is

          ORDERED that the stay of all existing deadlines between Plaintiffs and Defendant Blue

Cross and Blue Shield Association is extended until March 24, 2021.

          SIGNED this 22nd day of February, 2021.



                                                         ____________________________________
                                                         ROBERT W. SCHROEDER III
                                                         UNITED STATES DISTRICT JUDGE
